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                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                        ___________________

                                            No: 16-1523
                                        ___________________

                                            Patrick Ryan Bray

                                                 Plaintiff - Appellant

                                                   v.

                                            Bank of America

                                    Defendant - Appellee
______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                   (4:14-cv-01336-CEJ)
______________________________________________________________________________

                                             JUDGMENT


Before WOLLMAN, LOKEN and BENTON, Circuit Judges.


        This appeal from the United States District Court was submitted on the record of the

district court and briefs of the parties.

        After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion of this Court.

                                                        October 26, 2016




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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